
*982537 U. S. 839;
ante, p. 126;
ante, p. 306;
ante, p. 396;
ante, p. 926;
ante, p. 942;
ante, p. 959;
ante, p. 959;
ante, p. 959;
ante, p. 943;
537 U. S. 892;
538 U. S. 963;
*983No. 02-9508.
No. 02-9517.
No. 02-9620.
No. 02-9857.
No. 02-9899.
No. 02-9989.
No. 02-10033.
No. 02-10035.
No. 02-10051.
No. 02-10063.
No. 02-10082.
No. 02-10107.
No. 02-10162.
No. 02-10165.
No. 02-10181.
No. 02-10205.
No. 02-10266.
No. 02-10295.
No. 02-10310.
No. 02-10325.
No. 02-10351.
No. 02-10366.
No. 02-10421.
No. 02-10544.
No. 02-10621.
No. 02-10698.
538 U. S. 1038;
538 U. S. 1038;
538 U. S. 1040;
ante, p. 906;
ante, p. 906;
ante, p. 918;
538 U. S. 1064;
538 U. S. 1064;
538 U. S. 1064;
ante, p. 929;
ante, p. 930;
ante, p. 944;
ante, p. 931;
ante, p. 944;
ante, p. 945;
538 U. S. 1051;
ante, p. 932;
ante, p. 947;
ante, p. 961;
ante, p. 961;
ante, p. 962;
ante, p. 962;
ante, p. 920;
ante, p. 949;
ante, p. 935;
ante, p. 937;
*984No. 02-10706.
No. 02-10717.
No. 02-10733.
No. 02-10741.
No. 02-10802.
No. 02-10821.
No. 02-10852.
ante, p. 937;
ante, p. 965;
ante, p. 950;
ante, p. 951;
ante, p. 967;
ante, p. 952; and
ante, p. 967. Petitions for rehearing denied.
